Case 2:24-cr-00793-BRM Document 1

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2023R008 1VAPT/ADK

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA

Vv.

AUGUSTINE CHIBUZO
ONYEACHONAM,
STANLEY ASIEGBU,

a/k/a “Stanislaus Asiegbu,” and
CHUKWUEBUKA NWEKE-EZE

Filed 12/05/24 Page 1 of 18 PagelD: 1

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Hon. (BRM)
Crim. No. 24-793

Count One
18 U.S.C. § 1349
(Wire Fraud Conspiracy)

Counts Two and Three
18 U.S.C. § 1343 and § 2
(Wire Fraud)

Count Four
18 U.S.C. § 371
(Securities Fraud Conspiracy)

Count Five
18 U.S.C. § 1028(f)
(Identity Theft Conspiracy)

Counts Six through Nine
18 U.S.C. § 1028A and § 2

(Aggravated Identity Theft)

INDICTMENT

The Grand Jury in and for the District of New Jersey, sitting at Newark,

charges as follows:

COUNT ONE

(Wire Fraud Conspiracy)

Overview

1. From at least as early as in or around 2018 through the present,

defendants AUGUSTINE CHIBUZO ONYEACHONAM (“ONYEACHONAM’),

STANLEY ASIEGBU, a/k/a “Stanislaus Asiegbu” (“ASIEGBU”), CHUKWUEBUKA

NWEKE-EZE (“NWEKE-EZE”), and others (collectively, the “Conspirators”)
Case 2:24-cr-00793-BRM Document1 Filed 12/05/24 Page 2 of 18 PagelD: 2

orchestrated an internet-enabled fraud scheme (the “Fraud Scheme”) that targeted
victims throughout the United States, including in the District of New Jersey. As
part of the Fraud Scheme, the Conspirators impersonated real investment advisors
and solicited investment from members of the public through fraudulent public-facing
websites operated by the Conspirators. Over the course of the Fraud Scheme, the
Conspirators caused dozens of victims to suffer millions of dollars in losses.
Relevant Individuals, Entities, and Terms
2. At times relevant to this Indictment:

a. ONYEACHONAM, ASIEGBU, and NWEKE-EZE were citizens
of, and resided in, the Federal Republic of Nigeria.

b. The Financial Industry Regulatory Authority (“FINRA”) was an
independent nongovernmental organization that regulated member brokerage firms
and exchange markets. FINRA operated the Central Registration Depository
(“CRD”), the central licensing and registration system used by the U.S. securities
industry and its regulators, which contained the registration records of broker-dealer
firms and their associated individuals. FINRA assigned a unique CRD number to
licensed FINRA brokerage firms and broker-dealers.

c. “BrokerCheck” was a website managed by FINRA that allowed
any member of the public to view a registered broker-dealer’s employment history,
certifications, licenses, or prior violations.

d. The United States Securities and Exchange Commission (“SEC”)

was an independent agency of the executive branch of the United States government.
Case 2:24-cr-00793-BRM Document1_ Filed 12/05/24 Page 3 of 18 PagelD: 3

The SEC was responsible for protecting investors, enforcing federal securities laws,
and promulgating rules and regulations in keeping with the same.

e. “Website spoofing” involved the creation of a website with the
intention of misleading visitors to the website that the website was created and was
being operated by a different person or organization. A “spoofed” website often
adopted the design of the target (true) website and sometimes had a similar internet
domain name.

f. Victim-1 was a resident of New Jersey.

g. Victim-2 was a resident of California.

h. Victim Broker-1, Victim Broker-2, Victim Broker-3, and Victim

Broker-4 were licensed with FINRA as broker-dealers and assigned unique CRD

numbers.

i Company-1 was a domain registrar and web hosting company
headquartered in Arizona.

i. Company-2 was a network and internet security products

company that offered reverse proxy services, among other services. In computer
networks, a “reverse proxy” is a computer server that appears to any internet user to
be an ordinary web server, but, in reality, acts as an intermediary between the user
and the ordinary web server. One function of a reverse proxy is to hide the IP address
of the ordinary web server, which increases the server’s security.

k. Software Company-1 was a software company headquartered in
Wisconsin that offered voice-changing software applications. Application-1 was a

voice-changing software application offered by Software Company-1.

3
Case 2:24-cr-00793-BRM Document1 Filed 12/05/24 Page 4 of 18 PagelD: 4

onspirac
3. From at least as early as in or around 2018 through the present, in the
District of New Jersey and elsewhere, the defendants,

AUGUSTINE CHIBUZO ONYEACHONAM,
STANLEY ASIEGBU,
a/k/a “Stanislaus Asiegbu,” and
CHUKWUEBUKA NWEKE-EZE,

did knowingly and intentionally conspire with each other and others to devise and
intend to devise a scheme and artifice to defraud individuals, and to obtain money
and property by means of materially false and fraudulent pretenses, representations,
and promises, and, for the purpose of executing and attempting to execute such
scheme and artifice to defraud, did knowingly transmit and cause to be transmitted
by means of wire communications in interstate and foreign commerce, certain
writings, signs, signals, pictures, and sounds, contrary to Title 18, United States
Code, Section 1343.

Goal of the Conspiracy
4. The goal of the conspiracy was for ONYEACHONAM, ASIEGBU,

NWEKE-EZE, and the other Conspirators to enrich themselves by impersonating
FINRA broker-dealers, creating spoofed websites, soliciting money from individuals
via the internet, and fraudulently obtaining money from those individuals.

Manner and Means of the Conspiracy

5. It was part of the conspiracy that:

ai The Conspirators used, without authorization, the identities of

4
Case 2:24-cr-00793-BRM Document1 Filed 12/05/24 Page5 of 18 PagelD: 5

dozens of individuals registered as broker-dealers with FINRA, including Victim
Broker-1, Victim Broker-2, Victim Broker-3, and Victim Broker-4 (collectively, the
“Victim Brokers”).

b. The Conspirators created hundreds of spoofed websites in the
names of the Victim Brokers (the “Spoofed Websites”), which purported to offer
investment management and trading services. The Spoofed Websites often included
genuine credentials associated with the Victim Brokers such as employment or
examination history and CRD numbers. At times, the Spoofed Websites also included
links to the FINRA BrokerCheck web page associated with a particular Victim
Broker.

c. The Conspirators created social media accounts, which purported
to be operated by the Victim Brokers. At times, the Conspirators posted links to these
fake social media accounts on the Spoofed Websites.

d. The Conspirators used the seal of the SEC on both the Spoofed
Websites and in exchanges with victims of the Fraud Scheme (the “Fraud Victims”).
The Conspirators further forged the signature of an SEC Senior Officer on certificates
attesting that certain Victim Brokers were licensed. These same certificates were, at

times, displayed on the Spoofed Websites.

e. The Conspirators lured the Fraud Victims to the Spoofed
Websites by touting the services of the Victim Brokers through the comment sections
of online articles or videos discussing financial and cryptocurrency investment-

related topics. At times, the Conspirators would include links to one of the Spoofed

Websites.
Case 2:24-cr-00793-BRM Documenti1 Filed 12/05/24 Page 6 of 18 PagelD: 6

f. When a Fraud Victim visited a Spoofed Website, he or she was
directed to communicate with an individual they believed to be a legitimate broker-
dealer by contacting a telephone number or email address listed on the Spoofed
Website.

g. The Conspirators, posing as the Victim Brokers, communicated
with Fraud Victims through a variety of means, including email, phone calls, and
encrypted chat applications. During these communications, the Conspirators, among
other things: (1) told Fraud Victims that their money would be invested in various
stocks and cryptocurrencies; and (2) guaranteed Fraud Victims returns on their
investments of up to 25%.

h. The Conspirators used voice-changing software applications,
including Application-1, to impersonate certain female Victim Broker Dealers when
communicating with Fraud Victims by telephone.

1. When a Fraud Victim decided to invest money with one of the
Conspirators posing as a Victim Broker, he or she was told to: (1) open an account at
a particular cryptocurrency trading platform; (2) purchase cryptocurrency assets
through that platform; and (3) send the cryptocurrency assets to a particular
cryptocurrency wallet address for the purpose of investment. In reality, the funds
transferred by the Fraud Victims to the Conspirators were not invested but were
stolen by the Conspirators as part of the Fraud Scheme. At times, Fraud Victims’
funds were stolen directly from the account(s) opened by them at a particular

cryptocurrency exchange.
Case 2:24-cr-00793-BRM Document1 Filed 12/05/24 Page 7 of 18 PagelD: 7

i The Conspirators created fraudulent online investment platforms
that falsely displayed monthly returns associated with the Fraud Victims’
investments. For example, the Conspirators created online investment platforms
called “Lumentrades” and “Nuvoak” with corresponding websites (the “Lumentrades
Website” and the “Nuvoak Website”). A Fraud Victim visiting one of the fraudulent
investment platforms typically would observe substantial returns on their
investment. At times, Fraud Victims were encouraged by these returns and invested
additional funds.

k. At times, when a Fraud Victim requested to withdraw funds from
their account, they would be asked by the Conspirators to pay additional money in
fees or taxes to withdraw the funds. After paying these fees, the Fraud Victims’ funds
would still not be released.

1. The Conspirators caused dozens of Fraud Victims to transmit
funds that they believed to be for investments in the aggregate amount of at least
approximately $3 million.

In violation of Title 18, United States Code, Section 1349.
Case 2:24-cr-00793-BRM Document1_ Filed 12/05/24 Page 8 of 18 PagelD: 8

COUNTS TWO AND THREE
(Wire Fraud)

1. The allegations in paragraphs 1, 2, 4, and 5 of Count One of this
Indictment are re-alleged here.

z. On or about the dates set forth below, in Hudson County, in the District
of New Jersey, and elsewhere, the defendants,

AUGUSTINE CHIBUZO ONYEACHONAM,
STANLEY ASIEGBU,
a/k/a “Stanislaus Asiegbu,” and
CHUKWUEBUKA NWEKE-EZE,

did knowingly and intentionally devise and intend to devise a scheme and artifice to
defraud and to obtain money and property by means of materially false and
fraudulent pretenses, representations and promises, and, for purposes of executing
and attempting to execute such scheme and artifice to defraud, did knowingly
transmit and cause to be transmitted by means of wire communications in interstate
and foreign commerce certain writings, signs, signals, pictures and sounds, as set
forth more fully below, each such wire transmission constituting a separate count of

this Indictment:

Count | Victim Date Description

me Interstate wire transfer of
Two | Victim-1 | February 28, 2022 approximately $22,750

Interstate wire transfer of
approximately $95,000

Three | Victim-2 March 9, 2023

In violation of Title 18, United States Code, Sections 1343 and 2.

Case 2:24-cr-00793-BRM Document1 Filed 12/05/24 Page 9 of 18 PagelD: 9

COUNT FOUR
(Conspiracy to Commit Securities Fraud)

x; The allegations in paragraphs 1, 2, 4, and 5 of Count One of this

Indictment are re-alleged here.
The Conspiracy
2. From at least as early as in or around 2019 through the present, in
Hudson County, in the District of New Jersey, and elsewhere, the defendants,

AUGUSTINE CHIBUZO ONYEACHONAM,
STANLEY ASIEGBU,
a/k/a “Stanislaus Asiegbu,” and
CHUKWUEBUKA NWEKE-EZE,

did willfully and knowingly conspire and agree with each other and others to, directly
or indirectly, by use of the means and instrumentalities of interstate commerce, the
mails, and facilities of national securities exchanges, use manipulative and deceptive
devices and contrivances in violation of Title 17, Code of Federal Regulations, Section
240.10b-5 in connection with the purchases and sales of securities by (a) employing
devices, schemes and artifices to defraud; (b) making untrue statements of material
fact and omitting to state material facts necessary in order to make the statements
made, in the light of the circumstances under which they were made, not misleading;
and (c) engaging in acts, practices and courses of business which operated and would
operate as a fraud and deceit upon persons, contrary to Title 15, United States Code,

Sections 78j(b) and 78ff, and Title 17, Code of Federal Regulations, Section 240.10b-

5.
Case 2:24-cr-00793-BRM Documenti Filed 12/05/24 Page 10 of 18 PagelD: 10

Overt Acts
3. In furtherance of the conspiracy and to effect the object of the conspiracy,
ONYEACHONAM, ASIEGBU, NWEKE-EZE, and the other Conspirators committed
the following overt acts, in the District of New Jersey, and elsewhere:

a. On or about August 5, 2018, ONYEACHONAM registered the
Lumentrades Website at Company-1.

b. On or about July 1, 2019, NWEKE-EZE sent an email to a
prospective Fraud Victim with the subject line “Lumentrades Investment
Opportunity”.

c. On or about November 10, 2019, ONYEAHCHONAM registered
a Spoofed Website in the name of Victim Broker-3 at Company-1.

d. On or about November 12, 2019, ONYEACHONAM registered an
email address in the name of Victim Broker-3.

e. On or about July 3, 2020, ONYEACHONAM visited a Spoofed
Website in Victim Broker-4’s name.

f. On or about July 12, 2020, NWEKE-EZE fraudulently promoted
the services of Victim Broker-2 by commenting on a YouTube video.

g. On or about August 13, 2020, a Conspirator, posing as Victim
Broker-2, sent an email to a Fraud Victim stating, “I trade across three major

financial markets to achieve an immaculate trade performance and maximize profit

generation.”

10
Case 2:24-cr-00793-BRM Documenti- Filed 12/05/24 Page 11 of 18 PagelD: 11

h. On or about August 14, 2020, a Conspirator, posing as Victim
Broker-3, sent an email to a Fraud Victim with identical language to the email
described in Paragraph 3(g), above, sent by a Conspirator posing as Victim Broker-2.

i. On or about September 3, 2020, ONYEACHONAM purchased
Application-1 from Software Company-1.

j. On or about October 13, 2020, ONYEACHONAM conducted a
Google search for “whatsapp call voice changer.”

k. On or about October 20, 2020, ONYEACHONAM visited a
Spoofed Website in Victim Broker-2’s name.

1. On or about February 22, 2021, a Conspirator, posing as Victim
Broker-4, sent an email to a Fraud Victim advising, “to maximize profit realization,
your capital will be distributed between the stock market and digital currency
market.” The email included the seal of the SEC and a logo associated with FINRA’s
BrokerCheck website.

m. Onor about March 12, 2021, ASIEGBU created an account with
Company-2 associated with a Spoofed Website in the name of Victim Broker-1

n. On or about February 24, 2022, a Conspirator, posing as Victim
Broker-1, sent an email to Victim-1 which advised Victim-1 that Victim-1’s
investment would be “distributed between the stock market . . . and digital currency
market .. .”

0. On or about February 28, 2022, a Conspirator caused Victim-1
to send an interstate wire transfer of approximately $22,750 from a location inside

of New Jersey to a location outside of New Jersey.

11
Case 2:24-cr-00793-BRM Document1- Filed 12/05/24 Page 12 of 18 PagelD: 12

p. On or about March 16, 2022, ASIEGBU conducted a Google
search for the name of one of the Victim Brokers.

q. On or about June 20, 2023, a Conspirator sent an encrypted chat
message to Victim-2 falsely advising Victim-2, “your portfolio is at $358,964.”

Fr, On or about March 4, 2024, ASIEGBU conducted a Google search
for “how to write first call meeting script financial advisor template.”

In violation of Title 18, United States Code, Section 371.

12
Case 2:24-cr-00793-BRM Document1- Filed 12/05/24 Page 13 of 18 PagelD: 13

COUNT FIVE
(Conspiracy to Commit Identity Theft)

Di The allegations in paragraphs 1, 2, 4, and 5 of Count One of this

Indictment are re-alleged here.

The Conspiracy

2. From at least as early as in or around 2019 through the present, in
Hudson County, in the District of New Jersey, and elsewhere, the defendants,

AUGUSTINE CHIBUZO ONYEACHONAM,
STANLEY ASIEGBU,
a/k/a “Stanislaus Asiegbu,” and
CHUKWUEBUKA NWEKE-EZE,

did knowingly and intentionally conspire and agree with each other and others to
transfer, possess, and use, without lawful authority, a means of identification of
another person, to wit, names and CRD numbers belonging to FINRA broker-dealers,
including Victim Broker-1, Victim Broker-2, Victim Broker-3, and Victim Broker-4,
with the intent to commit, or aid or abet, or in connection with, unlawful activity that
constituted a violation of Federal law, contrary to Title 18, United States Code,
Section 1028(a)(7).

Goal of the Conspiracy
3. The goal of the conspiracy was for ONYEACHONAM, ASIEGBU,

NWEKE.-EZE, and the other Conspirators to use the names and CRD numbers of real

FINRA broker-dealers in order to fraudulently solicit money from investors via the

internet.

Manner and Means of the Conspiracy

4. It was part of the conspiracy that:
13
Case 2:24-cr-00793-BRM Documenti Filed 12/05/24 Page 14 of 18 PagelD: 14

a. The Conspirators used the names and CRD Numbers of actual
FINRA broker-dealers on the Spoofed Websites to solicit and fraudulently obtain

money from the Fraud Victims.

b. The Conspirators impersonated actual FINRA broker-dealers in
email and telephone communications with the Victim Investors, including by using
the names and CRD numbers of Victim Broker-1, Victim Broker-2, Victim Broker-3,

and Victim Broker-4, among others.

In violation of Title 18, United States Code, Section 1028(f).

14
Case 2:24-cr-00793-BRM Document1- Filed 12/05/24 Page 15 of 18 PagelD: 15

COUNTS SIX THROUGH NINE
(Aggravated Identity Theft)

i. The allegations in paragraphs 1, 2, 4, and 5 of Count One of this
Indictment are re-alleged here.
g. On or about the dates set forth below, in Hudson County, in the District

of New Jersey, and elsewhere, the defendants,

AUGUSTINE CHIBUZO ONYEACHONAM,
STANLEY ASIEGBU,
a/k/a “Stanislaus Asiegbu,” and
CHUKWUEBUKA NWEKE-EZE,

knowingly transferred, possessed, and used, without lawful authority, a means of
identification of another person, described in the table below, during and in relation
to a felony violation enumerated in Title 18, United States Code, Section 1028A(c), to
wit, conspiracy to commit wire fraud, in violation of Title 18, United States Code,
Section 1349, as set forth in Count One of this Indictment, knowing that the means

of identification belonged to another actual person, each constituting a separate count

of this Indictment:
Count | Approximate se Means of Identification
SIX February 24, 2022 Victim Broker-1 deme ae
SEVEN | August 13, 2020 Victim Broker-2 oni Nites
EIGHT | August 14, 2020 Victim Broker-3 Sore ee
NINE | February 22,2021 | Victim Broker-4 cent

In violation of Title 18, United States Code, Sections 1028A(a)(1) and 2.

15
Case 2:24-cr-00793-BRM Documenti- Filed 12/05/24 Page 16 of 18 PagelD: 16

FORFEITURE ALLEGATIONS AS TO COUNTS ONE THROUGH FIVE

As a result of committing the offenses charged in Counts One through Five of

this Indictment, the defendants,

AUGUSTINE CHIBUZO ONYEACHONAM,
STANLEY ASIEGBU,
a/k/a “Stanislaus Asiegbu,” and
CHUKWUEBUKA NWEKE-EZE,

shall forfeit to the United States, pursuant to Title 18, United States Code, Section
981(a)(1)(C) and Title 28, United States Code, Section 2461, all property, real and
personal, that constitutes or is derived from proceeds traceable to the commission of
such offenses, and all property traceable to such property.
Substitute Assets Provision

If any of the above-described forfeitable property, as a result of any act or
omission of the defendants:

(a) cannot be located upon the exercise of due diligence;

(b) has been transferred or sold to, or deposited with, a third person;

(c) _ has been placed beyond the jurisdiction of the Court;

(d) has been substantially diminished in value; or

(e) has been commingled with other property which cannot be subdivided

without difficulty,

it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), as incorporated by Title 28, United States Code, Section 2461(c), to seek

16
Case 2:24-cr-00793-BRM Document1 Filed 12/05/24 Page 17 of 18 PagelD: 17

forfeiture of any other property of the defendants up to the value of the above-

described forfeitable property.

A TRUE BILL

FOREPERSON

PHILIP R.SELLINGER _
United States Attorney

17
Case 2:24-cr-00793-BRM Documenti - Filed 12/05/24 Page 18 of 18 PagelD: 18

CASE NUMBER: 24-793(BRM)

United States District Court
District of New Jersey

UNITED STATES OF AMERICA
Vv.

AUGUSTINE CHIBUZO ONYEACHONAM,
STANLEY ASIEGBU, a/k/a “Stanislaus Asiegbu,” and
CHUKWUEBUKA NWEKE-EZE

INDICTMENT FOR

18 U.S.C. § 1349
18 U.S.C. § 1343
18 U.S.C. § 371
18 U.S.C. § 1028(f)
18 U.S.C. § 1028A

PHILIP R. SELLINGER

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